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                      Exhibit 3
     Case 1:18-cv-04363-GBD-BCM
12-22224-rdd                      Document
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Attorneys for the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
IN RE:                                                         :   Chapter 11
                                                               :
TBS Shipping Services Inc., et al.,                            :   Case No. 12-22224 (MG)
         Debtors.                                              :
                                                               :   Jointly Administered
                                                               :
---------------------------------------------------------------x

            NOTICE OF EFFECTIVE DATE OF JOINT PREPACKAGED
       PLAN OF REORGANIZATION FOR THE DEBTORS UNDER CHAPTER 11
        OF THE BANKRUPTCY CODE (WITH TECHNICAL MODIFICATIONS)


TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

                PLEASE TAKE NOTICE that on February 6, 2012 (the "Petition Date"), TBS
Shipping Services Inc. and certain of its affiliates, as debtors and debtors in possession
(collectively, the "Debtors" and each, a "Debtor") in the above captioned chapter 11 cases (the
"Chapter 11 Cases"), each filed petitions for relief under chapter 11 of title 11 of the United
States Code (the "Bankruptcy Code"), in the United States Bankruptcy Court for the Southern
District of New York (the "Bankruptcy Court").

               PLEASE TAKE FURTHER NOTICE that on March 29, 2012, the Bankruptcy
Court entered an order [Docket No. 140] (the "Confirmation Order") confirming the Joint
Prepackaged Plan of Reorganization for the Debtors under Chapter 11 of the Bankruptcy Code
(with Technical Modifications) dated as of March 2, 2012 [Docket No. 98] (the "Plan"). Unless
otherwise defined in this notice, capitalized terms used herein shall have the meanings ascribed
to them in the Plan and the Confirmation Order.

              PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan
occurred on April 12, 2012.
     Case 1:18-cv-04363-GBD-BCM
12-22224-rdd                      Document
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                PLEASE TAKE FURTHER NOTICE that the Plan and the Confirmation
Order, and their respective terms and provisions, are binding on the Debtors, the Reorganized
Debtors, any entity acquiring or receiving property or a distribution under the Plan, and any
present or former holder of a Claim against or Interest in the Debtors and their respective
successors, assigns, and parties in interest, including all Governmental Units, whether or not the
applicable Claim or Interest of such holder is impaired under the Plan and whether or not such
holder or entity voted to accept or reject the Plan (or abstained from voting on the Plan).

 ALL PLEADINGS FILED WITH, AND ORDERS ENTERED BY, THE BANKRUPTCY
  COURT ARE AVAILABLE FOR INSPECTION ON THE BANKRUPTCY COURT'S
  INTERNET SITE AT http://www.nysb.uscourts.gov AND AT NO COST FROM THE
          REORGANIZED DEBTORS' RESTRUCTURING WEBSITE,
                       http://www.tbsrestructuring.com.



Dated:   New York, New York
         April 18, 2012
                                           /s/ Michael A. Rosenthal
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                                           ATTORNEYS FOR THE DEBTORS AND
                                           DEBTORS IN POSSESSION




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